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                                   4                                  UNITED STATES DISTRICT COURT

                                   5                                 NORTHERN DISTRICT OF CALIFORNIA

                                   6
                                        EDWIN WING CHU,
                                   7                                                         Case No. 14-cv-05360-JD
                                                        Plaintiff,
                                   8
                                                  v.                                         ORDER OF DISMISSAL
                                   9
                                        WALGREEN CO,                                         Re: Dkt. No. 23
                                  10
                                                        Defendant.
                                  11

                                  12
Northern District of California
 United States District Court




                                  13   The Court having advised the court that they have agreed to a settlement of this cause, IT IS

                                  14   HEREBY ORDERED that this cause of action is dismissed without prejudice; provided,

                                  15   however that if any party hereto shall certify to this court, within ninety (90) days, with proof of

                                  16   service thereof, that the agreed consideration for said settlement has not been delivered over, the

                                  17   foregoing order shall stand vacated and this cause shall forthwith be restored to the calendar to be

                                  18   set for trial.

                                  19   If no certification is filed, after passage of ninety (90) days, the dismissal shall be with prejudice.

                                  20   Dated: May 18, 2015

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                                                                                         JAMES DONATO
                                  23                                                     United States District Judge
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